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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

       UNITED STATES OF AMERICA,

                     Plaintiff,
       vs.                                               CASE NO. 6:06-CR-125-ORL-19KRS

       SHARIKA MICHELLE FLOWERS,

                     Defendant.


                                               ORDER

              This case was considered by the Court on the following matters:

              1.     The Report and Recommendation of the United States Magistrate Judge (Doc.

       No. 1256, filed February 13, 2007) and Joint Notice of No Objection to the Report and

       Recommendation (Doc. No. 1356, filed March 8, 2007).

              Upon consideration, the Report and Recommendation (Doc. No. 1256) is

       ADOPTED and AFFIRMED. The Amended Motion to Withdraw Plea (Doc. No. 1193,

       filed January 29, 2007) is GRANTED.

              2.     The Report and Recommendation of the United States Magistrate Judge (Doc.

       No. 1357, filed March 8, 2007), Notice of No Objection to the Report and Recommendation

       by the United States of America (Doc. No. 1358, filed March 8, 2007) and Notice of No

       Objection to the Report and Recommendation by Defendant Sharika Michelle Flowers (Doc.

       No. 1359, filed March 8, 2007).

              Upon consideration, the Report and Recommendation of the United States Magistrate

       Judge (Doc. No. 1357) is ACCEPTED, AFFIRMED AND ADOPTED.

              Defendant Sharika Michelle Flowers has entered a plea of guilty to Count One of the
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       Second Superseding Information knowingly, intelligently and voluntarily. Such plea is

       accepted, and Defendant is adjudicated guilty of Count One of the Second Superseding

       Information.

              Ruling on acceptance of the Plea Agreement (Doc. No. 1353, filed March 8, 2007)

       is DEFERRED until the time of sentencing.

              DONE AND ORDERED at Orlando, Florida, this          9th    day of March, 2007.




       Copies to:
       U.S. Attorney
       Counsel of Record
       U.S. Attorney
       U.S. Probation
       U.S. Pretrial Services
       U.S. Marshal
